Case 2:10-cv-01687-ER Document51 Filed 01/11/12 Pageiof3

IN THE UNITED STATES DISTRICT COURT’ FOR THE” ~~

SAS.
LEON FRENKEL and PEP,
PERISCOPE PARTNERS, L.P.
Plaintiffs, : CIVIL ACTION NO.: 10-cv-168

V.

JOHN P. ACUNTO, JR.,
ABSOLUTE PARTNERS, INC.
and ABSOLUTE PRO STUDIOS, INC.

Defendants.

WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL FOR THE EASTERN DISTRICT OF
PENNSYLVANIA:

To satisfy the judgment, interest, and costs against John P. Acunto, Jr., of 9271 Equus

Circle, Boynton Beach, Florida 33472, and 18715 Ocean Mist Drive, Boca Raton, Florida 33498,

Defendant and Judgment Debtor

(1) You are directed to levy upon the property of the Defendar.t and to sell his interest
therein:

(2) You are also directed to attach the property of the Defendant not levied upon in the

possession of Citibank, 1760 Market Street, Philadelphia, Pennsylvania 19103, as Garnishee:

any and all property of Defendant, and to notify the Garnishee that:

(a) an attachment has been issued;
(b) the Garnishee is enjoined from paying any debt to or for the account
of the Defendant and from delivering any property of the Defendant

or otherwise disposing thereof:
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(3) If the property of the Defendant not levied upon and subject to attachment is found in
the possession of anyone other than the named Garnishee, you are di:ected to notify him that he

has been added as a Garnishee and is enjoined as above stated.

Amount Due: $ 777,936.61
Post-Judgment Interest from June 14, 2011 to

December 20, 2011 at the rate of 6% per year: $ 24,634.66
TOTAL $ 802,571.27

MICHAEL E. KUN
Clerk of the our

By: Tow

Seal of the Court:

MAJOR EXEMPTIONS UNDER PENNSYLVANIA AND FEDERAL LAW

$300.00 STATUTORY EXEMPTION

BIBLES, SCHOOL BOOKS, SEWING MACHINES, UNIFORMS, AND EQUIPMENT
MOST WAGES AND UNEMPLOYMENT COMPENSATION

SOCIAL SECURITY BENEFITS

CERTAIN RETIREMENT FUNDS AND ACCOUNTS

CERTAIN VETERAN AND ARMED FORCES BENEFITS

CERTAIN INSURANCE PROCEEDS

SUCH OTHER EXEMPTIONS AS MAY BE PROVIDED BY LAW

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U.S. Department of Justice PROCESS RECEIPT AND RETURN
United States Marshals Service See "Instructions for Service of Process by U.S. Marshal"

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PLAINTIFF COURT CASE NUMBER
Leon Frenkel, et al. 10-cv-1687
DEFENDANT TYPE OF PROCESS
John P. Acunto, Jr., et al. Writ of Execution

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE Citibank
AT ADDRESS (Street or RFD, Apartment No., Citv, State and ZIP Code)

1760 Market Street, Philadelphia, Pennsylvania 19103
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Nu-nber of process to be

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Jerry R. DeSiderato, Esquire
Mitts Milavec, LLC
Two Logan Square, 12th Floor

Eighteenth and Arch Streets Cheek for service
Philadelinhia PA 19Q1N2 on USA.

Nurnber of parties to be :
served in this case oJ

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available Sor Service):

Fold Fold

Za

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY— DO NOT WRITE BELOW THIS LINE

I acknowledge receipt for the total i iT otal Process | District of Distictto | Signature of "7 vb Depuyg or Clerk Date

number of process indicated. i Origin | Serve : !

(Sign only for USM 285 if more i | / -—— !

than one USM 285 is submitted) : et No. Cf No. ok = at ian | / 3 ~/ AX

I hereby certify and return that | it have personally served have legal evidence of service, KX have executed as shown in “Remarks”, the process described
on the individual , company, corporation, etc., at the address shown above on the on the individval ° company, corperation, etc. shown at the address inserted below.

Signature of Attorney other Originator requesting service on behalf of: KK PLAINTIFF TELEPHONE NUMBER | DATE
[| DEFENDANT | -275-68]-9083

CI I hereby certify and return that | am unable to locate the individual, company. corporation, etc. named above (Sve remarks below)

Name and title of individual served (if not shown above) 3} A person of suitable age and discretion

Ron n y | O nC Assi 1S bart curl cn Manag ev then residing in defendant's usual place

Address (complete only different than shown above) Date Time x
20) South SE Phibde eloln PA awn (-E1% 1490 Bm

Sign . Marshal or Deputy

Amoutet te S Marshal® or

Service Fee Total Mileage Charges| Forwarding Fee | Total Charges Advance Deposits |
(Amott of Reluad*)
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including endeavors)

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REMARKS:
Paneeadesiatady ¢. CLERK OF THE COURT PRIOR EDITIONS MAY BE USED

2. USMS RECORD
3. NOTICE OF SERVICE
4. BILLING STATEMENT?*: To be returned to the U.S. Marshal with payment,
if any amount is owed. Please remit promptly payable to U.S. Marshal. Form USM-285
5. ACKNOWLEDGMENT OF RECEIPT Rev. 12/80
